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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF VIRGINIA
                                   Alexandria Division

 ROSY GIRON DE REYES; JOSE
 DAGOBERTO REYES; FELIX ALEXIS
 BOLANOS; RUTH RIVAS; YOVANA
 JALDIN SOLIS; ESTEBAN RUBEN MOYA
 YRAPURA; ROSA ELENA AMAYA; and
 HERBERT DAVID SARAVIA CRUZ,
                                                 Civil Action No. 1:16-cv-563
              Plaintiffs,

       vs.

 WAPLES MOBILE HOME PARK LIMITED
 PARTNERSHIP; WAPLES PROJECT
 LIMITED PARTNERSHIP; and A.J.
 DWOSKIN & ASSOCIATES, INC.,

              Defendants.


                                 [PROPOSED] ORDER

       The Court having considered the Motion to Withdraw Appearance of Benjamin Cain,

 Esq., it is hereby ORDERED that the motion is GRANTED.

       Done this ____ day of __________, 2016.



                                                  ____________________________________
                                                  T.S. Ellis, III
                                                  United States District Judge
